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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF COLORADO

 In re:
                                                      Case No.: 09-13729 MER
 Anthony A. Romero II
 Maria E. Romero

                                                      Chapter 13


     Debtor(s).

                               CHAPTER 13 FEE APPLICATION

                                            SUMMARY

        Pursuant to 11 U.S.C. § 330, Applicant, Cohen & Cohen, P.C., attorney for the Debtor(s),
requests allowance of the following fees and reimbursement of out-of-pocket expenses incurred
up to the date of confirmation as follows:

          1. TOTAL FEES REQUESTED in this application..............            $4000.00

          2. TOTAL EXPENSES REQUESTED in this application......... + $0.00

                                   (Total Fees and Expenses Requested) = $4000.00

          3. AMOUNT PAID TO DATE (exclusive of the filing fee) – $1500.00
          4. NET AMOUNT OF FEES AND EXPENSES TO BE PAID
          THROUGH CONFIRMED PLAN NOT TO EXCEED AMOUNT
          FUNDED BY THE PLAN
                                                               = $2500.00


                          DETAIL IN SUPPORT OF FEE REQUEST

                                           FEES
Amount of fee Applicant agreed to with Debtor(s) for performing services to represent the
Debtor in this case:
                     (amount disclosed in 2016(b) disclosure)...........................$3000.00


          A. This agreed upon fee represents:
                 (1)___ a flat fee for all basic services in the case
                 (2)__ hourly charges based upon time spent.
                 (3)___ other fee arrangement based upon________________.
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       B. Applicant’s rate for attorney services is $175_______/ hour; the rate for
       associate attorney services is $175____/ hour; and the rate for paralegal services
       is $75_____/ hour.


                                          EXPENSES

Amount of expenses incurred:

____ copies (at ____/copy)                                 $No Charge
Postage                                                    $0.00
Facsimile                                                  $No Charge
Legal Research                                             $No Charge
Credit Report                                              $Already Paid by Client
Filing Fee                                                 $Already Paid by Client
                                                    Total: $0.00


                      APPLICANT’S CERTIFICATIONS
       IN SUPPORT OF REQUEST FOR PRESUMPTIVELY REASONABLE FEE
                     PURSUANT TO ¶ 4a OF G.P.O. 2007-2.

APPLICANT CERTIFIES/ATTESTS THAT:

       1. I have performed ALL of the Basic Services listed in Exhibit A to General Order
2007-2 (Basic Services) as necessary and appropriate to the Debtor(s)’ case.

        2. I provided a copy of Exhibit A, Basic Services, to General Order 2007-2 to my
client(s).

       3. The foregoing is true and accurate.

                                 EXHIBIT B SUPPLEMENT

                        APPLICANT’S CERTIFICATIONS
               IN SUPPORT OF SUPPLEMENTED REQUEST FOR FEES
                       PURSUANT TO ¶ 4b OF G.P.O. 2007-2.

APPLICANT CERTIFIES/ATTESTS THAT:

      1. ____ I have not performed the following services listed on Exhibit A to General Order
2007-2 (Basic Services) for the fee requested and a copy of the Engagement Letter and/or Fee
Agreement is attached hereto.

       2. X I am requesting a fee for services which exceeds the presumptive fee amount.

       3. Attached to this Application are:
       (a)     A narrative description of services performed such as results achieved, difficulties
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              encountered or any other unique aspects of the case and discussing the standards
              of §330(a);
       (b)    Detailed time records which includes:
              (i) the TIME SPENT for each service rendered, broken out in tenths of an hour;
              (ii) the HOURLY RATE for each service rendered;
              (iii) the CHARGE for each service so rendered; and
       (c)    Such other information as I believe is necessary to support my request for fees.


DATED, this 7th day of July, 2009.

                                                  Respectfully submitted,
                                                  Cohen & Cohen, P.C.




                                                  _________________________
                                                  Matthew B. Aguero #40405
                                                  Robertson B. Cohen, #35252
                                                  Cohen & Cohen, P.C.
                                                  P.O. Box 621940
                                                  Littleton, CO 80-162
                                                  303-933.4529
                                                  maguero@cohenlawyers.com
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                                                         EXHIBIT B

                                        Cohen & Cohen, P.C.
                                      All Time for Selected File:
                                          Romero, Anthony & Maria
                                                    Client ID: 1204
                                                    Matter ID: 01

     Date         Timekeeper   Activity & Description                    Time    Rate      Time
                                                                       (hours)    ($)       ($)

 FriJan 9, 2009         MA     initial consult                        1.10       175       192.5

 FriJan 9, 2009         MA     File set up                            0.40       175        70

                               Ross Colbern, Primary
MonJan 12, 2009         ME                                            0.10       75         7.5
                               Financial. called to verify

MonFeb 9, 2009          MA     Answer email RE: Summons               0.10       175       17.5

                               Replying to client email re:
TueFeb 10, 2009         MA     student loan payments,                 0.60       175       105
                               summons

ThuFeb 19, 2009         MA     rr client email re: taxes              0.10       175       17.5

                               rr client email re: timeline and
FriFeb 20, 2009         MA                                            0.10       175       17.5
                               questions regarding filing

                               TC from client re: filing before
FriFeb 27, 2009         MA                                            0.40       175        70
                               court date

MonMar 2, 2009          ME     input pay stubs in ez filing           0.50       75        37.5

MonMar 2, 2009          MA     1st Drafting Consult                   3.00       175       525


                               rr email from client re: liabilities
TueMar 3, 2009          MA                                            0.10       175       17.5
                               and settlement offers


                               Adding real property to EZ file;
ThuMar 5, 2009          MA                                            0.30       175       52.5
                               getting value for home

MonMar 9, 2009          MA     Chapter 13 Plan                        1.00       175       175

TueMar 10, 2009         MA     Post Filing Letter                     0.30       175       52.5

                               sent taxes to tt, set tickles for
TueMar 10, 2009         MA                                            0.30       175       52.5
                               case

                               Faxed emergency BK notices to
TueMar 10, 2009         MA                                            0.30       175       52.5
                               opposing counsel

TueMar 10, 2009         MA     Editing EZ File/Filing case            0.80       175       140
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                             rr client email re where to send
                             plan payment and bk notice to
WedMar 11, 2009     MA                                             0.30      175        52.5
                             court/ rr client email re petition
                             corrections

                             rr client email re: court
TueMar 17, 2009     MA                                             0.10      175        17.5
                             documents

TueMar 31, 2009     MA       rr client email re: letter from tt    0.20      175         35

                             receive and save court docs:
WedApr 8, 2009      MA                                             0.10      175        17.5
                             EOA

                             Rcvd ltr from Castle Meinhold
MonApr 13, 2009     ME                                             0.10       75         7.5
                             with EOA, scanned and saved

                             Making changes per TT
ThuApr 16, 2009     MA                                             0.30      175        52.5
                             objection

                             receiving and saving objection
ThuApr 16, 2009     MA                                             0.20      175         35
                             to confirmation from TT

 FriApr 17, 2009    MA       Requesting O&E                        0.10      175        17.5

                             Email re: O&E for client's
MonApr 20, 2009     MA                                             0.10      175        17.5
                             property

MonApr 20, 2009     MA       Email re: Dress for 341               0.10      175        17.5

TueApr 21, 2009     MA       341                                   1.00      175        175

                             rcvd post filing cc cert for
 FriApr 24, 2009    ME                                             0.10       75         7.5
                             Anthony, saved


 FriApr 24, 2009    MA       Email to TT re meet and confer        0.40      175         70


MonApr 27, 2009     MA       TC to OC re: Lien filed after BK      0.10      175        17.5


                             receive and save notice of
MonApr 27, 2009     MA                                             0.10      175        17.5
                             assignment of claim

MonApr 27, 2009     MA       TC to TT re: Meet and confer          0.10      175        17.5

TueApr 28, 2009     MA       email to client re: O & E             0.10      175        17.5

WedApr 29, 2009     MA       TC re: O&E; lien void                 0.20      175         35

ThuApr 30, 2009     MA       Email to client re: lien removal      0.10      175        17.5

                             TC with clietn re: Motion to
 FriMay 1, 2009     MA                                             0.10      175        17.5
                             Avoid

 FriMay 1, 2009     MA       Drafting Motion to Avoid Lien         0.20      175         35

                             Research 522(f) auto stay
 FriMay 1, 2009     MA                                             0.20      175         35
                             violation
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                            TC to Jan Westman (OC) re:
MonMay 4, 2009     MA                                            0.40      175         70
                            removing lien

                            meet and confer with April
TueMay 5, 2009     MA                                            0.40      175         70
                            Norton

WedMay 6, 2009     MA       Certificate of Information           0.40      175         70


ThuMay 7, 2009     MA       TC with client re: plan payment      0.60      175        105


                            TC with Jan Westman re:
ThuMay 7, 2009     MA                                            0.20      175         35
                            releasing lien

                            TC with client re: $650 plan
ThuMay 7, 2009     MA                                            0.20      175         35
                            payment

                            TC with client re: confirmation
MonMay 11, 2009    MA                                            0.20      175         35
                            hearing

MonMay 11, 2009    MA       Confirmation Hearing                 1.10      175        192.5

                            rr client email re: Amending
MonMay 18, 2009    MA                                            0.30      175        52.5
                            Plan

                            Email to client re: Amending
MonMay 18, 2009    MA                                            0.40      175         70
                            Plan and payment

                            Email to April re: Amended Plan
TueMay 19, 2009    MA                                            0.20      175         35
                            and proposed pymnt

                            rr client email re: Amending
WedMay 20, 2009    MA                                            0.10      175        17.5
                            Plan

                            Recieve and save Roundup
ThuMay 21, 2009    MA                                            0.10      175        17.5
                            Funding POC

ThuMay 21, 2009    MA       Amending Plan                        0.50      175        87.5

                            rr client email re: Amended
TueMay 26, 2009    MA                                            0.40      175         70
                            plan/hours spent

                            Sending Amended Plan to client
TueMay 26, 2009    MA                                            0.20      175         35
                            for reveiw

                            rr client email re: timeline after
WedMay 27, 2009    MA                                            0.20      175         35
                            amending plan


                            rcvd fax from Dan Marchamnd,
FriMay 29, 2009    ME                                            0.10       75         7.5
                            pritned and saved


                            Obtaining Court docket and
MonJun 1, 2009     MA       drafting letter to OC re stay        0.70      175        122.5
                            violations
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                                          Sending Order Granting motion
   MonJun 1, 2009            MA                                                 0.30      175        52.5
                                          to avoid lein

                                          Drafting letter to OC re:
   TueJun 2, 2009            MA                                                 0.90      175        157.5
                                          removing lien

                                          Filing Verification of
  TueJun 23, 2009            MA                                                 0.20      175         35
                                          Confirmable plan

                                          Filing Amended verification of
  WedJun 24, 2009            MA                                                 0.20      175         35
                                          confirmable plan

  ThuJun 25, 2009            MA           Sent confirmation letter              0.20      175         35

                                          rcvd Letter from Westman,
   WedJul 1, 2009            ME                                                 0.10       75         7.5
                                          scanned and saved

   ThuJul 2, 2009            MA           receive and save POC's                0.10      175        17.5

   MonJul 6, 2009            MA           Prepare fee application               1.00      175        175

                                                                                  23.50                4012.5


Fees Requested                                                                                        4000.00
Expenses Requested                                                                                          0
Total Fees and Expenses                                                                               4000.00
Less Amnt Pre-Paid (not incld FF or CR)                                                                  1500
Total Fees and Expenses                                                                               2500.00

Net Fees & Expenes to Be Paid Plan                                                                $2,500.00
